S. R. ROSEBERG, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Roseberg v. CommissionerDocket No. 14383.United States Board of Tax Appeals13 B.T.A. 503; 1928 BTA LEXIS 3240; September 24, 1928, Promulgated *3240  1.  Where one exchanged his property for the whole of the capital stock of a corporation except two qualifying shares, and where the market value of the shares received was in excess of the cost of the property, held, that such excess constituted taxable gain.  2.  Where the owner of all the capital stock of a corporation, except two qualifying shares, exchanged a part of his stock holdings for property and then exchanged such property for a part of the assets of the same corporation and where the market value of such assets was in excess of the market value of the stock so exchanged, held, that such excess constituted taxable gain.  Alfred L. Black, Esq., for the petitioner.  C. H. Curl, Esq., and I. W. Carpenter, Esq., for the respondent.  MILLIKEN *503  This proceeding involves the redetermination of deficiencies in income tax for the years 1920 and 1921 in the respective amounts of $5,698.36 and $41,709.66.  The errors alleged are that respondent erred in determining that petitioner was in receipt of taxable income in 1920 by reason of an exchange of property for all the capital stock of a corporation except two qualifying shares; *3241  and that he was in receipt of taxable income in 1921 by reason of certain exchanges of stock for property and property for stock in the same corporation.  FINDINGS OF FACT.  Prior to September 1, 1920, the petitioner was engaged in the oiljobbing business in and around the City of Los Angeles, Calif., operating as an individual and was in possession of assets which cost or had a fair market value as of March 1, 1913, of $223,002.03.  On or about September 1, 1920, the petitioner organized the Roseberg Oil Corporation with a capital stock of $300,000 par value and transferred to said corporation the foregoing assets of a cost or March 1, 1913, value of $223,002.03, and received in exchange therefor all of the capital stock of the corporation with the exception of two qualifying shares.  The assets so transferred were set up on the books of the corporation at a value of $301,056.54 and had at said date a ready realizable market value of $247,406.98, and the value of the stock thus received by the taxpayer had an agreed value on September 1, 1920, when received by the taxpayer of $247,406.98.  On or about January 10, 1921, petitioner was the owner of all the stock (excepting two*3242  qualifying shares) of the Roseberg Oil Corporation, with a par value of $300,000, and William J. Batchelder was the owner of a refinery acquired on or about said date at an approximate cost of $45,000.  *504  On or about January 10, 1921, Batchelder deeded this refinery to petitioner and received in payment therefor 950 shares of the capital stock of the Roseberg Oil Corporation, which 950 shares of stock had a ready realizable market value at the date received of $78,253.89.  On or about January 10, 1921, petitioner transferred this same refinery to the Roseberg Oil Corporation in exchange for assets of the corporation, with a book value of approximately $200,000 and a ready realizable market value of $176,750; said transfer of the refinery to the corporation was duly authorized by the board of directors of said corporation and the transaction entered on the minutes of the corporation as of January 10, 1921.  The refinery was set up on the books of the corporation at the transfer costs of $200,750.  The refinery herein mentioned was purchased by W. J. Batchelder from the Turner Oil Co. at a cost of approximately $45,000.  This refinery was located on leased land and*3243  at the time of the sale of said refinery to Batchelder the owners of said refinery had been notified by the owners of the land that their lease had been terminated and they would be required to remove their refinery from said land.  However, petitioner and W. J. Batchelder had assurance from the owners of the land that if they purchased the refinery a lease would be granted to them.  On July 24, 1922, a "Statement of Facts" was spread upon the minutes of the Roseberg Oil Corporation detailing the refinery transaction and stating the refinery was worth but $45,000 and that a stock discount of $150,000 should be set up, but the said stock discount was never set up on the books of the corporation nor was the book value of the refinery ever written down on the corporation's records and depreciation was taken on said refinery at the value of $200,750 as shown by the books, and said depreciation has been taken on all of the tax returns of the corporation upon said valuation.  Early in 1923 an amended return for 1921 was prepared for the corporation by Van Dane and Co., C.P.A.'s.  Incorporated in their report is a schedule listing the various units of this same refinery with a $200,750*3244  valuation basis.  This unit list was prepared by the refinery superintendent.  The American Appraisal Co. as a result of an appraisal early in 1924 placed a value on the refinery greater than $200,750.  Late in 1923 figures were offered the Corporation Commissioner setting up this same refinery at a valuation in excess of $200,750 as part of a contemplated merger with the Blue Tank Line &amp; Refining Co.  At the time the refinery was purchased by Batchelder the book value of the assets of the Roseberg Oil Corporation was $301,056.54, and the cost of the refinery to W. J. Batchelder was $45,000, and the *505  results of the various transactions were that the refinery went into the corporation and petitioner withdrew approximately $200,000 of the book assets of the corporation, and Batchelder had 950 shares of the Roseberg Oil Corporation.  Batchelder having purchased the refinery for $45,000 from the Turner Oil Co. after its lease had been terminated, transferred said refinery to petitioner for stock in the Roseberg Oil Corporation worth $78,253.89, and petitioner in turn transferred the same refinery to the corporation for part of its assets having a book value of approximately*3245  $200,000 and a market value of $176,750.  The stock ownership of the corporation then stood as follows: Petitioner2,048 sharesBatchelder950 sharesQualifying shares2 sharesOPINION.  MILLIKEN: The facts were stipulated and our findings of fact are in accord with the stipulation.  In 1920 petitioner was the owner of property which cost or had a fair market value as of March 1, 1913, of $223,002.03.  In September of that year petitioner organized the Roseberg Oil Corporation with a capital stock of the par value of $300,000, and transferred said property to said corporation in consideration of all its capital stock except two qualifying shares.  The property so transferred had on the date of transfer a ready realizable market value of $247,406.98, and the stock received by petitioner was of the same value as the property transferred.  The applicable provisions of the Revenue Act of 1918 are sections 213 and 202.  Section 213 in part provides: The term "gross income" - (a) Includes gains, profits, and income derived from * * * sales, or dealings in property, whether real or personal.  The pertinent portion of section 202 provides: (b) When property*3246  is exchanged for other property, the property received in exchange shall for the purpose of determining gain or loss be treated as the equivalent of cash to the amount of its fair market value, if any, * * *.  It is conceded in the brief filed in behalf of petitioner that if this transaction be considered simply as one between two different entities, it resulted in taxable income, but it is contended that, since petitioner on the morning of the day the transaction was consummated was the owner of the property and on the evening of the same day was the owner of all the capital stock of the corporation except the two qualifying shares, he had substantially the same property interests in the evening that he had in the morning with the result that he was in receipt of no taxable gain.  *506  The converse of this proposition was presented to the Board in , and . In the first proceeding the facts were that a corporation was dissolved and the assets thereof were conveyed to the stockholders as partners, the individuals holding the same proportionate interests in the partnership that they held*3247  in the corporation.  In the Greenwood case the facts were that Greenwood was the owner of all the stock of a corporation and upon its dissolution acquired all its assets.  In both cases the same contention was advanced that is made in this proceeding, which is that we should disregard the corporate entity and hold that, since the interests of the individuals were the same in the corporation as in the assets of the corporation after dissolution, no taxable gain could result.  In both cases we held adversely to this contention.  In the Greenwood case we said: We have recently held in Appeal of , that the dissolution of a corporation and the transfer of its capital and surplus to a partnership, the members of which have the same proportionate interests, results in taxable income to the stockholder notwithstanding he in fact took nothing out of the business.  In that case the Board said: "Since all of the assets remained in the business and nothing was actually distributed, the taxpayer, a former stockholder and later partner, claims that he received no taxable income. *3248  To him it appears that his financial interest was precisely the same after the reorganization as before.  But as a matter of law this is not so.  As a stockholder of the former corporation he was not directly an owner of its assets; as a member of the partnership he was.  This legal distinction is a matter of substance and not merely of form.  The Supreme Court has left no room for doubt that a corporation must be regarded for purposes of the income tax law as an entity separate and distinct from its shareholders.  ; ; ." The principle announced in the above case is applicable here and the distinction between a corporation and its stockholders is preserved even where one person owns all the capital stock.  ; . The fact that the assets of the corporation were not converted into cash and that the taxpayer at no time received cash for his stock we regard as immaterial for the reason that income may*3249  be derived from a distribution of assets in kind as well as from a conversion of such assets into cash and a distribution of the cash.  The assential thing is gain derived from capital, whether it flows from capital or is derived from a conversion of capital as an increase in capital value.  Both are equally income within the meaning of the law, and the manner of distribution cannot affect the principle which is to control.  See also ; ; and . In , the facts were that certain tenants in common in 1919 exchanged their undivided interests in property for the capital stock of a corporation, the *507  individuals owning the same proportionate interests in the corporation that they had owned in the property.  In that proceeding, as in this, the value of the stock received in exchange was in excess of the cost of the property exchanged for the stock.  The respondent determined that this excess constituted taxable income and the Board affirmed his determination. *3250  There, as here, the petitioner relied upon . After discussing that case and , we said: The taxpayers here say that by the exchange of leases for stock none of the stockholders gained anything really different from what they had had prior to the exchange; that the appreciation in value of the property before the transfer was evidenced by instruments of writing showing undivided interests in the oil leases and after the transfer this appreciation was evidenced by certificates of stock reflecting identically the same undivided interests, owned by the same persons.  There might be some grounds for saying that the stock certificates held by the stockholders represent the same amount of interest in the leases as they had owned before the transfer, but to say that they represent the "same undivided interests" is not accurate nor in accordance with the settled law.  Prior to the exchange the taxpayers held title to their interests in the leases with all the incidents of complete ownership; after the exchange the corporation had title, legal and equitable, to the whole property. *3251 . The taxpayers further urge that the change of ownership of the leases was a change in form and not in substance; the tenants in common created the corporation to serve them, controlled the corporation entirely, and in substance had nothing more than they had before the transfer.  We think it immaterial that the former tenants in common controlled the corporation, as the fact remains that they and the corporation were separate entities.  This fact is one that can not be ignored and the distinction between a corporation and its stockholders for income-tax purposes is a legal distinction of substance and not merely of form.  ; . And whether the stockholders had anything more after receiving the corporate stock than they had before is not the test.  ; . The true test is laid down in *3252 , where the court says, at page 254, that, if a stockholder is to be taxed on an exchange of property the transaction must be "something which gives the stockholder something really different from what he theretofore had." This test, when applied here, gives the real solution to the question.  The taxpayers, prior to the exchange, had the direct ownership, hence complete and full control, over their interests in the leases; after the exchange they were at most beneficial owners of the assets of the corporation, their shares therein being evidenced by stock certificates which carried with them no direct right of ownership in the assets.  , and cases therein cited.  In other words, by this transaction the taxpayers received shares of stock which were property of a distinctly different kind from, and having entirely different attributes than, the property paid in by them.  See also . On the authority of the above cases we are of opinion that respondent was not in error in determining that petitioner was in receipt of *508 *3253  taxable income by reason of the exchange of his property for the stock of the corporation.  With respect to the transaction occurring in the year 1921, it is contended that the final result of all the exchanges was simply to introduce Batchelder as a stockholder in the corporation.  Whatever may be the merit of this contention, a point we do not decide, it disregards the facts of the case which were that petitioner purchased the property of Batchelder with stock of the corporation.  It thus became petitioner's property.  He then exchanged this property for assets of the corporation.  These assets immediately ceased to be the property of the corporation and became the property of petitioner.  Under the facts as stipulated it is clear that petitioner was in receipt of taxable income to the extent of the difference between the cost to him of the 950 shares transferred to Batchelder and the market value of the amounts received from the corporation, to wit, $176,750.  The contention that these transactions were the equivalent of a reorganization is untenable.  Whatever may be the definition of the term "reorganization," it is sufficient to say that these transactions did not in any sense*3254  constitute a "reorganization of one or more corporations" as that term is used in section 202(c)(2) of the Revenue Act of 1921.  Stock or securities were not received in place of stock or securities, but the corporation acquired a refinery from petitioner.  There was no merger, consolidation, recapitalization or change in identity, form, or place of organization of the corporation.  Neither does petitioner benefit by the provisions of section 202(c)(3) in that he was not "in control" of the corporation as that term is defined by statute.  Judgment will be entered under Rule 50.